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                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF MICHIGAN

  In re:
                                                        Case No. 24-02343-swd
  SMOKIN' DUTCHMAN HOLDINGS, LLC,                       Hon. Scott W. Dales
  aka SMOKIN' DUTCHMAN, LLC,                            Chapter 11, Subchapter V
  aka DICKEY'S BARBECUE PIT,

              Debtor.
  _____________________________________/

                                          FINAL DECREE

                  PRESENT:      HONORABLE SCOTT W. DALES
                                Chief United States Bankruptcy Judge


       The court entered an Order Approving Stipulated Motion to Voluntarily Dismiss Case to
 Resolve United States Trustee's Motion for Conversion/Dismissal of Case (ECF No. 98), and the
 Subchapter V trustee has filed his Report of No Distribution (ECF No. 111).
           The estate of the above-named debtor has been fully administered.
        NOW, THEREFORE, IT IS HEREBY ORDERED that Scott A. Chernich, Esq., is
 discharged as trustee of the estate of the above-named debtor and the bond is cancelled.
           IT IS FURTHER ORDERED that the chapter 11 case of the above-named debtor is closed.
         IT IS FURTHER ORDERED that the Clerk shall serve a copy of this Final Decree pursuant
 to Fed. R. Bankr. P. 9022 and LBR 5005-4 upon the Debtor, counsel for the Debtor, the United
 States Trustee, Scott A. Chernich, Esq., and all parties appear on the Debtor's mailing matrix.


                                          END OF ORDER




IT IS SO ORDERED.

Dated June 4, 2025
